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   January 21, 2021                                       Matthew Bohuslav       Digitally signed by Matthew Bohuslav
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